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                           REDACTED PUBLIC VERSION


                   UNITED STATES COURT OF APPEALS
                        FOR THE FIFTH CIRCUIT


 WYNNEWOOD REFINING CO. LLC;
 CALUMET SHREVEPORT REFINING,
 LLC; AND THE SAN ANTONIO REFINERY
 LLC,

                           Petitioners,                   No. 22-60425
                                                          (consolidated with Nos. 22-
       v.                                                 60433 & 22-60434)

 UNITED STATES ENVIRONMENTAL
 PROTECTION AGENCY,

                           Respondent.


                 CERTIFICATE OF INTERESTED PERSONS

      The undersigned counsel of record certifies that the following listed persons

and entities as described in the fourth sentence of Rule 28.2.1 have an interest in

the outcome of this case, to the best of counsel’s knowledge. These

representations are made in order that the judges of this Court may evaluate

possible disqualification or recusal. Counsel gathered the information regarding

Petitioners and related entities from Petitioners’ Certificates of Interested Persons

and has not independently verified the accuracy of those Certificates.

      1.     Allegiance Refining, LLC, is a Texas limited liability company.

Allegiance Refining, LLC, is a refining operations company. Allegiance Refining,

LLC, is not publicly traded, and no publicly held company has a ten percent or

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greater ownership interest in it. Although Allegiance Refining, LLC, is identified

in Petitioner The San Antonio Refinery LLC’s Certificate of Interested Persons,

the relationship between Allegiance Refining, LLC, and Petitioner The San

Antonio Refinery LLC or its parent companies was not disclosed.

      2.    Calumet Refining, LLC, a limited liability company formed under the

laws of Delaware, is owned 100 percent by Calumet Specialty Products Partners,

LP. On November 10, 2019, Calumet Refining, LLC, completed the sale to

Starlight Relativity Acquisition Company LLC of all of the issued and outstanding

membership interests in Calumet San Antonio Refining, LLC, now named The San

Antonio Refinery LLC, which is a Petitioner.

      3.    Calumet Shreveport Refining, LLC—Petitioner—is incorporated

under the laws of Delaware and owned 100 percent by Calumet Specialty Products

Partners, LP.

      4.    Calumet Specialty Products Partners, LP—parent of Petitioner

Calumet Shreveport Refining, LLC—is incorporated under the laws of Delaware.

Calumet Specialty Products Partners, LP, is a refiner of petroleum products and a

publicly traded company. The Heritage Group owns 12.28 percent of the common

stock of Calumet Specialty Products Partners, LP, and there are no other known

persons or entities that own more than ten percent of it. Calumet Specialty

Products Partners, LP, was also listed in Petitioner The San Antonio Refinery



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LLC’s Certificate of Interested Persons likely due to its 100 percent ownership of

Calumet Refining, LLC.

      5.     CVR Refining, LLC—parent of Petitioner Wynnewood Refining Co.

LLC—is incorporated under the laws of the State of Delaware and is a wholly

owned subsidiary of CVR Refining, LP.

      6.     CVR Refining, LP, is incorporated under the laws of the State of

Delaware and is an indirect wholly owned subsidiary of CVR Energy, Inc.

      7.     CVR Energy, Inc., is incorporated under the laws of the State of

Delaware and is publicly traded on the New York Stock Exchange under the

symbol “CVI.”

      8.     Ergon, Inc. is the parent company of Petitioners Ergon Refining, Inc.,

and Ergon-West Virginia, Inc.

      9.     Ergon Refining, Inc.—Petitioner— is incorporated under the laws of

Mississippi and is a refiner of petroleum products. Ergon Refining, Inc., is wholly

owned by parent company Ergon, Inc. No publicly held company has a ten percent

or greater ownership interest in it.

      10.    Ergon-West Virginia, Inc.—Petitioner— is incorporated under the

laws of Mississippi and is a refiner of petroleum products. Ergon-West Virginia,

Inc., is wholly owned by parent company Ergon, Inc. No publicly held company

has a ten percent or greater ownership interest in it.



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      11.      Gershenfeld, Andrew K.—White & Case LLP—counsel for Petitioner

Wynnewood Refining Co. LLC.

      12.      Hardin, Jonathan G.—Perkins Coie LLP—counsel for Petitioners

Calumet Shreveport Refining, LLC; Ergon Refining, Inc.; Ergon-West Virginia,

Inc.; The San Antonio Refinery LLC; and Placid Refining Company LLC.

      13.      Harrison, Bryan—Attorney, United States Department of Justice—

counsel for Respondent United States Environmental Protection Agency.

      14.      Hershey, Samuel P.—White & Case LLP—counsel for Petitioner

Wynnewood Refining Co. LLC.

      15.      Icahn Enterprises, LP, and its affiliates (“IEP”) hold a ten percent or

greater ownership interest in CVR Energy Inc. IEP is a publicly traded

partnership.

      16.      Jacobi, Patrick R.—Attorney, United States Department of Justice—

counsel for Respondent United States Environmental Protection Agency.

      17.      Lauria, Thomas E.—White & Case LLP—counsel for Petitioner

Wynnewood Refining Co. LLC.

      18.      Morical, Gregory J.—Calumet Specialty Products Partners, LP—

counsel for petitioner Calumet Shreveport Refining, LLC.

      19.      Placid Holding Company—parent of Petitioner Placid Refining

Company LLC.



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       20.   Placid Refining Company LLC—Petitioner—is a limited liability

company organized under the laws of Delaware and is a refiner of petroleum

products. Placid Refining Company LLC is owned 100 percent by its parent

companies Placid Holding Company and RR Refining, Inc., and no publicly held

company has a ten percent or greater ownership interest in it.

       21.   Pullins, Taylor—White & Case LLP—counsel for Petitioner

Wynnewood Refining Co. LLC. (No appearance entered as of this filing.)

       22.   RR Refining, Inc.—parent of Petitioner Placid Refining Company

LLC.

       23.   The San Antonio Refinery LLC—Petitioner—is a Delaware limited

liability company (f/k/a Calumet San Antonio Refining, LLC) and is a refiner of

petroleum products. The San Antonio Refinery LLC is owned 100 percent by

Starlight Relativity Acquisition Company LLC.

       24.   Starlight Relativity Acquisition Company LLC, is a Delaware limited

liability company. Starlight Relativity Acquisition Company LLC is a holding

company based in the United States. Starlight Relativity Acquisition Company

LLC is owned 83.22 percent by Starlight Relativity Holdings LLC and 16.88

percent by TexStar Midstream, LLC, and is not publicly traded.

       25.   United States Environmental Protection Agency—Respondent.




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      26.   Wolff, Eric B.—Perkins Coie LLP—counsel for Petitioners Calumet

Shreveport Refining, LLC, and The San Antonio Refinery LLC.

      27.   Worsham, Karl J.—Perkins Coie LLP—counsel for Petitioners

Calumet Shreveport Refining, LLC; Ergon Refining, Inc.; Ergon-West Virginia,

Inc.; The San Antonio Refinery LLC; and Placid Refining Company LLC.

      28.   Wynnewood Refining Co. LLC—Petitioner—is incorporated under

the laws of the State of Delaware and is a wholly owned subsidiary of CVR

Refining, LLC.


Dated: January 11, 2023                    s/ Bryan J. Harrison
                                           BRYAN J. HARRISON




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              UNITED STATES COURT OF APPEALS
                   FOR THE FIFTH CIRCUIT


WYNNEWOOD REFINING CO. LLC;
CALUMET SHREVEPORT REFINING,
LLC; AND THE SAN ANTONIO REFINERY
LLC,

                     Petitioners,              No. 22-60425
                                               (consolidated with Nos. 22-
    v.                                         60433 & 22-60434)

UNITED STATES ENVIRONMENTAL
PROTECTION AGENCY,

                     Respondent.



EPA’S REDACTED RESPONSE TO THE SAN ANTONIO REFINERY’S
           MOTION FOR STAY PENDING APPEAL
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                                 INTRODUCTION

      Petitioner The San Antonio Refinery’s (“TSAR”) Motion for a “stay” of

EPA’s action seeks relief unavailable from any court, i.e., suspending TSAR’s

preexisting obligation to comply with the Renewable Fuel Standard (“RFS”)

program of the Clean Air Act (“CAA”). Not only has TSAR recognized in other

courts that the relief sought through its stay motion is not available to it on the

merits of its petition for review, but also the requested relief only could be

obtained, if at all, through a writ of mandamus, for which TSAR has not petitioned,

with prerequisites TSAR does not even purport to satisfy.

      Insofar as TSAR seeks a stay of the decision under review—EPA’s Denial

of Petitions for RFS Small Refinery Exemption, EPA-420-R-22-011 (“June 2022

Denial Action”)—TSAR is not entitled to that extraordinary relief or its request for

a stay pending appeal. Even if this were the proper forum,1 TSAR’s stay motion

should be denied for three principal reasons.

      First, staying EPA’s decision would not avert the irreparable harm TSAR

alleges, which stems from legal duties that predate EPA’s decision. Second,

TSAR’s arguments about harm, like its attacks on the merits of EPA’s decision, are



1
 See EPA’s Motion to Transfer Petition to D.C. Circuit or Dismiss Based on
Improper Venue, Doc. 00516465312. While this Court has carried EPA’s venue
motion forward to the merits panel, Doc. 00516546773, the lack of venue for
TSAR’s petition for review also supports denial of TSAR’s Motion.


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not well founded. Third, because EPA’s decision applies equally to many

similarly-situated regulated entities, a stay applied only to TSAR would be

inequitable and contrary to public interest. Simply put, the requested stay would




           . The Motion should be denied.

                                 BACKGROUND

      A.     The RFS Program and Temporary Small Refinery
             Exemption

      The RFS program was enacted in 2005 and 2007 to increase the production

of clean renewable fuels. Energy Policy Act of 2005, Pub. L. No. 109-58, 119

Stat. 594; Energy Independence and Security Act of 2007, Pub. L. No. 110-140,

121 Stat. 1492. Congress established increasing target volumes of renewable fuels

to be blended into transportation fuel each year until 2022, with EPA setting the

volumes thereafter. 42 U.S.C. § 7545(o)(2)(B). Each year, EPA issues an annual

rule setting the “applicable volume” for each fuel type and converting those into

“percentage standards” that require certain obligated parties—namely, refiners and

importers of transportation fuel—to introduce renewable fuel into the

transportation fuel market. Id. § 7545(o)(2)–(3); 40 C.F.R. § 80.1406.

      Per Congress’s design, refineries comply with the RFS by submitting to

EPA enough credits, known as Renewable Identification Numbers (“RINs”), that


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correspond to particular quantities of renewable fuel. 40 C.F.R. §§ 80.1425–

80.1427; see 42 U.S.C. § 7545(o)(5) (requiring EPA to promulgate regulations

creating a credit system). A refinery can satisfy its RFS obligations either by

blending the required quantity of renewable fuels into gasoline and diesel or by

purchasing a sufficient number of RINs from other entities that blend renewable

fuels. See 40 C.F.R. §§ 80.1427–80.1429.

      Congress created a temporary exemption from the RFS program for certain

obligated parties that qualify as “small refineries.” 42 U.S.C. § 7545(o)(9).

Congress provided that a “small refinery may at any time petition the

Administrator [of EPA] for an extension of the exemption under subparagraph (A)

for the reason of disproportionate economic hardship.” Id. § 7545(o)(9)(B)(i). In

considering such a petition, “the Administrator, in consultation with the Secretary

of Energy, shall consider the findings of the study under subparagraph (A)(ii) and

other economic factors.” Id. § 7545(o)(9)(B)(ii). A petitioning small refinery has

various options to manage its potential compliance obligations, depending on the

timing of its petition and of EPA’s decision. See Decl. of Byron Bunker ¶¶ 9–13.




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reasons that transcend venue: A court sitting in review of administrative action has

authority to grant relief only with respect to the agency action before it. Reviewing

courts lack authority to order the agency to take action to change the preexisting

status or rights of the challenger pending conclusion of judicial review, which is

what TSAR is seeking here.

      APA section 705 provides that, “to prevent irreparable injury, the reviewing

court” may “postpone the effective date of an agency action” or “preserve status or

rights pending conclusion of the review proceedings.” 5 U.S.C. § 705; see also

Kondapally v. USCIS, 2020 U.S. Dist. LEXIS 156095, at *19 (D.D.C. Aug. 27,

2020) (limiting relief to return to status quo or a delay of the challenged action)

(citations omitted)); Salt Pond Assocs. v. U.S. Army Corps of Eng’rs, 815 F. Supp.

766, 776 (D. Del. 1993) (same); 5 U.S.C. § 706(2) (limiting APA relief to holding

unlawful and setting aside the challenged agency action). A return to the status

quo or delay of the June 2022 Denial Action would not stay TSAR’s RFS

compliance obligations for 2019 through 2021. See Comprehensive Cmty. Dev.

Corp. v. Sebelius, 2012 U.S. Dist. LEXIS 30623, at *25 (S.D.N.Y. Mar. 7, 2012)

(defining “status quo” in a discussion of the potential application of APA section

705 as being “at the commencement of this lawsuit”); see also Bunker Decl. ¶¶ 9–

13 (explaining small refineries’ compliance options where an exemption petition is

pending at the compliance deadline).



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      TSAR has not identified any authority that would allow the Court to stay

TSAR’s pre-existing RFS compliance obligations under the CAA where TSAR is

not directly challenging those obligations or the underlying authority. TSAR’s

compliance obligations arise from authorities not challenged in TSAR’s petition,

including the CAA itself, see 42 U.S.C. § 7545(o)(3)(B)(ii)(I), EPA’s existing

regulations, 40 C.F.R. § 80.1406, and a series of EPA actions that provide

increases in time and flexibility for compliance, e.g., 87 Fed. Reg. 5696; 87 Fed.

Reg. 54158. TSAR does not challenge any of these authorities or actions here (nor

could it), and the Court therefore does not have jurisdiction to stay their effect.

      In fact, TSAR’s own filings in other courts where it challenges the June

2022 Denial Action undermine the relief requested in its Motion here. See, e.g.,

Petitioners’ Response in Opposition to Motion to Intervene at 9–13, Sinclair Wyo.

Refin. Co. v. EPA, No. 22-1073 (D.C. Cir. Dec. 1, 2022), Doc. 1975793 (opposing

an intervention motion on standing grounds by correctly observing that, even if the

June 2022 Denial Action is ultimately vacated, such an outcome would merely

result in remand to EPA, not a grant of TSAR or other small refineries’ exemption

petitions). By seeking a stay of its pre-existing RFS compliance obligations,

TSAR asks this Court not merely to stay EPA’s June 2022 Denial Action but rather

to grant TSAR’s exemption petitions that EPA denied. Yet—even according to




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TSAR—courts reviewing the merits of the June 2022 Denial Action lack the power

to provide such relief. Id.

      TSAR’s reliance on the All Writs Act to stay TSAR’s pre-existing RFS

compliance obligations under the CAA or EPA regulations or to stay EPA’s

enforcement authority, see Motion at 25–26, is misplaced. TSAR has not even

attempted to demonstrate a basis to seek the extraordinary relief of a writ of

mandamus ordering EPA to refrain from enforcing TSAR’s RFS compliance

obligations under the All Writs Act. See In re Dupuy Orthopedics, Inc., 870 F.3d

345, 350 (5th Cir. 2017) (concluding that mandamus is available as “a drastic and

extraordinary remedy reserved for really extraordinary causes”).

      Even if TSAR had sought mandamus, EPA’s June 2022 Denial Action was

well within its discretion, as described in Part II.A, infra, and TSAR’s argument

would fail. Moreover, the All Writs Act does not control where another “statute

specifically addresses the particular issue at hand.” Carlisle v. United States, 517

U.S. 416, 429 (1996); see also Nelson v. Reese, 214 F. App’x 465, 466–67 (5th

Cir. 2007) (same) (quoting Carlisle, 517 U.S. at 429). It is “that authority, and not

the All Writs Act, that is controlling.” Carlisle, 517 U.S. at 429. TSAR’s Motion

should be denied.




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II.   TSAR HAS NOT MET ITS BURDEN FOR THE
      EXTRAORDINARY REMEDY OF A STAY PENDING
      APPEAL.

      TSAR fails to grapple with the substance of EPA’s June 2022 Denial Action.

Congress promulgated the small refinery exemption as a safety valve to enable

small refineries to seek relief in the narrow circumstances where they can show

disproportionate economic hardship from RFS compliance. Following an

unprecedented increase in the number of exemption petitions and extensive

litigation over EPA’s grants of small refinery exemptions, EPA comprehensively

reviewed its approach to deciding them, including review of refinery-specific

materials submitted by many small refineries in support of their exemption

petitions, years of experience and data collected by implementing the RFS

program, and an exhaustive analysis of the RFS credit (RIN) and fuels markets.

Consistent with the statute and a decision from the Tenth Circuit, EPA concluded

that Congress intended exemptions only for hardship caused by RFS compliance

and where the hardship is “disproportionate.”

      EPA also determined that TSAR and other petitioning small refineries did

not experience disproportionate economic hardship for the compliance years at

issue. In fact, the evidence demonstrates that TSAR and other small refineries

passed on their RFS compliance costs in the sales price of their products through




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RIN discount and RIN cost passthrough principles. Therefore, the petitioning

small refineries experience no hardship from RFS compliance.

      EPA’s June 2022 Denial Action is consistent with the statute and well-

supported. TSAR fails to demonstrate any likelihood of success on the merits, any

harm that will be alleviated by the requested stay or that is caused by RFS

compliance, or even that a stay is in the public interest. The Court should deny

TSAR’s Motion for the extraordinary remedy of a stay pending appeal.

      A.     TSAR Demonstrates No Likelihood of Success on the
             Merits.

                   EPA’s June 2022 Denial Action is consistent with the
                   CAA.

      EPA’s revised interpretation of 42 U.S.C. § 7545(o)(9)(B) in the June 2022

Denial Action accords with the statutory text and is reasonable. EPA’s past

approach allowed it to grant an exemption where a small refinery experienced

disproportionate economic hardship for reasons other than RFS compliance. June

2022 Denial Action at 17–19. EPA reconsidered and revised its approach

following the Tenth Circuit’s decision in Renewable Fuels Association v. EPA, 948

F.3d 1206 (10th Cir. 2020) (“RFA”), reversed on other grounds, HollyFrontier

Cheyenne Refining, LLC v. Renewable Fuels Association, 141 S. Ct. 2172 (2021)

(“HollyFrontier”), which holds that EPA’s prior approach to finding




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“disproportionate economic hardship” for reasons other than RFS compliance was

“outside the scope of the EPA’s statutory authority” in 42 U.S.C. § 7545(o)(9)(B).

      In the June 2022 Denial Action, EPA carefully reconsidered the language

and purposes of the small refinery exemption provisions. The statute, 42 U.S.C.

§ 7545(o)(9)(B)(i), authorizes EPA to grant an extension of the exemption “under

subparagraph (A) for the reason of disproportionate economic hardship.”

Subparagraph (A) in § 7545(o)(9)(A)(ii)(II) allows an exemption if the Department

of Energy (“DOE”) determines that the small refinery “would be subject to a

disproportionate economic hardship if required to comply” with RFS requirements.

Thus, EPA rationally concluded that requiring disproportionate economic hardship

due to RFS compliance is the most reasonable approach for deciding exemption

petitions. See FCC v. Fox Television Stations, Inc., 556 U.S. 502, 515 (2009)

(recognizing that an agency change need only be permissible under the statute,

with an explanation of why the new approach is better). EPA’s Proposed Denial

and June 2022 Denial Action thoroughly explained its changed approach to

determining disproportionate economic hardship, allowed opportunity for public

comment and submission of supplemental refinery-specific material, and reflected

consultation with DOE. See Bunker Decl. ¶¶ 23–29. EPA’s interpretation should

be upheld.




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      Contrary to the CAA, TSAR argues that Congress intended for EPA to

determine disproportionate economic hardship for reasons other than RFS

compliance. See Motion at 17–18. This and related arguments fail. EPA’s revised

interpretation is only “narrower” than its previous interpretation, id. at 16–17, in

that it is more consistent with the language of the statute, requiring that

disproportionate economic hardship be caused by RFS compliance. EPA’s

requirement that small refineries show an impact from RFS compliance that is

greater than that experienced by other refineries, June 2022 Denial Action at 17,

does not add an impermissible “severity” requirement as TSAR claims, Motion at

17–18; rather, EPA simply interprets the word “disproportionate” in the statute

consistent with its meaning.

      TSAR also alleges that EPA reduced the role of the findings of DOE’s 2011

Study and “other economic factors” into a single factor of RFS compliance costs.

Id. at 17–18. EPA extensively consulted with DOE, including thirteen individual

meetings, and considered the 2011 Study and other economic factors. See June

2022 Denial Action at 24–26; Bunker Decl. ¶ 25. Beyond compliance costs, EPA

considered economic factors such as “the dynamics and characteristics of the fuels

and RIN markets, publicly available price data, confidential financial and other

refinery-specific data submitted by the petitioning small refineries, and all the data

other commenters submitted on the Proposed Denial.” June 2022 Denial Action at



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18. While EPA did not consider economic factors unrelated to determining

whether a small refinery’s RFS compliance costs cause alleged disproportionate

economic hardship, id., that choice lies well within EPA’s discretion, see 42 U.S.C.

§ 7545(o)(9)(A)–(B); Hermes Consol., LLC v. EPA, 787 F.3d 568, 575–577 (D.C.

Cir. 2015).

      TSAR criticizes EPA’s statements that it is “highly unlikely,” June 2022

Denial Action at 19, that any refinery would face disproportionate economic

hardship “absent a compelling demonstration,” 87 Fed. Reg. at 54161 n.27. These

statements merely indicate that a small refinery would have to provide sufficient

empirical data to disprove EPA’s well-supported conclusion, not that EPA will

“never” grant another exemption, as TSAR claims, Motion at 18.

      TSAR also incorrectly argues that the Supreme Court’s decision in

HollyFrontier prohibits EPA’s statutory interpretation. See Motion at 18. Far

from implicating HollyFrontier’s holding, EPA’s statutory reading comports with

HollyFrontier insofar as the Supreme Court recognized that the meaning of words

in 42 U.S.C. § 7545(o)(9)(B) should be interpreted consistent with the meaning of

the same words in § 7545(o)(9)(A). 141 S. Ct. at 2177. TSAR is also not aided by

the Tenth Circuit’s decision in Sinclair Wyoming Refining Company v. EPA, 887

F.3d 986, 997 (10th Cir. 2017), which held that EPA cannot use viability




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impairment as the sole criterion for determining hardship, because the June 2022

Denial Action does not impose a viability test. TSAR’s challenges fail.

                   In the June 2022 Denial Action, EPA adjudicated
                   individual petitions and considered refinery-specific
                   facts consistent with the CAA.

      Contradicting its previous filings in this case, 4 TSAR argues that EPA failed

to consider TSAR’s exemption petitions individually. Motion at 14–16. EPA

adjudicated each of sixty-nine exemption petitions in the June 2022 Denial Action,

responded to cross-cutting small refinery comments and arguments in the

aggregate, see June 2022 Denial Action at 59–70, and responded to specific

confidential facts and arguments raised by each petitioning small refinery in

confidential Appendices C through U—including TSAR’s in Appendix U, see

Bunker Decl., Ex. C.

      Fundamentally, TSAR protests EPA’s decision to adjudicate sixty-nine

exemption petitions in one action. See Motion at 14–16. However, agencies have

discretion to determine how to shape their regulatory actions. NAACP v. FPC, 425

U.S. 662, 668 (1976); SEC v. Chenery Corp., 332 U.S. 194, 202 (1947). Nothing

in 42 U.S.C. § 7545(o)(9)(B) requires EPA to adjudicate each exemption petition


4
  See Petitioners’ Response to EPA’s Motion to Transfer the Petition for Review to
the D.C. Circuit or Dismiss Based on Improper Venue at 2, 14, 17 (Sept. 19, 2022),
Doc. 00516476915 (arguing that “individual petitions were denied,” EPA “has
bundled various individual adjudications together,” and EPA “issued 69 denials of
hardship petitions”).


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separately or prohibits EPA from deciding multiple exemption petitions in a single

action.

                     The June 2022 Denial Action did not violate TSAR’s
                     due process rights and is not retroactive.

      TSAR contends that the June 2022 Denial Action deprived TSAR of due

process rights and was impermissibly retroactive without providing adequate

notice. Motion at 19–22. TSAR’s mere expectation that it would receive an

exemption based on past EPA exemptions does not create a constitutionally

protected right for which TSAR could, as a matter of law, be deprived of due

process. See Bd. of Regents v. Roth, 408 U.S. 564, 577 (1972) (concluding that

due process for an alleged property right requires that a person “have a legitimate

claim of entitlement” not merely “a unilateral expectation”).

      The June 2022 Denial Action is also not impermissibly retroactive. A

primarily retroactive action “imposes new sanctions on past conduct” and is

deemed “invalid unless specifically authorized” by statute. Nat’l Petrochemical &

Refiners Ass’n v. EPA, 630 F.3d 145, 159 (D.C. Cir. 2010). A secondarily

retroactive action is one that “merely ‘upsets expectations’” and is not

presumptively invalid; instead, it is deemed “invalid only if arbitrary and

capricious.” Id. (quoting Landgraf v. USI Film Prods., 511 U.S. 244, 269 (1994)).

      Here, the June 2022 Denial Action is not primarily retroactive because it

does not take away or impair “vested rights acquired under existing law,” or create


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a “new obligation, impose[] a new duty, or attach[] a new disability, in respect to

transactions or considerations already past.” I.N.S. v. St. Cyr, 533 U.S. 289, 321

(2001). The Action decides TSAR’s pending 2019 through 2021 exemption

petitions—for the first time—and confirms that TSAR will have to comply with its

pre-existing RFS obligations.5 The June 2022 Denial Action thus does not impose

new duties or consequences at all, as compliance is a consequence of statutory and

regulatory requirements applicable to all obligated parties. See, e.g., 42 U.S.C.

§ 7545(o)(3)(B)(ii)(I); 40 C.F.R. § 80.1406.

      Nor is the June 2022 Denial Action secondarily retroactive. As explained in

Part II.A, supra, EPA’s action was reasonable, and EPA is not “precluded from

announcing new principles” in its informal adjudications. Nat’l Lab. Rels. Bd. v.

Bell Aerospace Co. Div. of Textron Inc., 416 U.S. 267, 294 (1974). If anything,




                            . Bunker Decl. ¶¶ 14–15, 43. TSAR and other small

refineries also had ample notice since at least early 2021 that EPA would likely

reconsider its past approach to determining disproportionate economic hardship



5
  EPA’s lack of action on TSAR’s petition within the ninety-day statutory time
frame under 42 U.S.C. § 7545(o)(9)(B) gave TSAR no reasonable expectation that
EPA would grant an exemption, given that the exemption is entirely discretionary
and must be justified with each petition.


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based on the events of the past three years, including many EPA outreach and

procedural efforts                                              . Id. ¶¶ 16–24.

        The June 2022 Denial Action is also not a retroactive rulemaking. See

Motion at 22. EPA previously explained that the Action is not a rulemaking at all,

much less a retroactive one, and incorporates its previous arguments by reference.

See June 2022 Denial of Petitions for RFS Small Refinery Exemptions:

Appendices, at B8–B12.6 Further, TSAR itself has previously argued that the

Action consists of sixty-nine adjudications. See note 4, supra. TSAR’s arguments

should be rejected.

                                                              does not
                      invalidate EPA’s conclusions on RIN discount and
                      RIN cost passthrough.

        TSAR argues

renders the June 2022 Denial Action arbitrary and capricious because



                                 Motion at 23–24. TSAR’s argument fails for two

reasons.

        First,




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    https://nepis.epa.gov/Exe/ZyPDF.cgi?Dockey=P10156FE.pdf.


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      While EPA’s economic analysis is complex, it starts with Congress requiring

EPA to create a market for renewable transportation fuel and a credit system to

allow obligated parties to comply. See, e.g., 42 U.S.C. § 7545(o)(5). As a

compliance mechanism, RINs correspond to particular quantities of renewable

fuel. 40 C.F.R. §§ 80.1425–80.1427. Because the RIN and fuels markets are

highly competitive, they do not allow for one market participant to be advantaged

or disadvantaged by its role within the market; instead all “types of obligated

parties bear the same cost from compliance with the RFS program.” June 2022

Denial Action at 30.




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      TSAR wrongly argues that




                                                     , all obligated parties receive an

increased price (and increased revenue) for the sale of transportation fuel products



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                   The post-decisional GAO Report should not be
                   considered and does not evidence likelihood of success
                   on the merits.

      TSAR inappropriately relies on a Government Accountability Office report

from November 2022 (“GAO Report”).7 Motion at 24–25. The GAO Report is

not part of the administrative record for the June 2022 Denial Action and therefore

cannot be considered for purposes of determining TSAR’s likelihood of success on

the merits. 5 U.S.C. § 706; Fla. Power & Light Co. v. Lorion, 470 U.S. 729, 743–

44 (1985). And any consideration should correct TSAR’s omissions and

inaccuracies by accounting for EPA’s criticisms included within the GAO Report,

e.g., that GAO’s conclusions “do not accurately reflect the [small refinery

exemption] decisions EPA issued in” the June 2022 Denial Action. GAO Report,

App. IV at 55–61; see also Bunker Decl. ¶¶ 53–56. Indeed, EPA’s criticisms

further demonstrate that the GAO Report should not be considered at all and that it

does not evidence a likelihood of success on the merits. See United States v.

Jones, 664 F.3d 966, 975 (5th Cir. 2011) (affirming exclusion of GAO reports “in

light of the reports’ limited probative worth”); United States v. Wiszowaty, 506

F.3d 537, 541 (7th Cir. 2007) (affirming exclusion of GAO report that was

“confusing and irrelevant”).


7
  U.S. Government Accountability Office, Renewable Fuel Standard: Actions Need
to Improve Decision-Making in the Small Refinery Exemption Program, GAO-23-
104273 (Nov. 2022), https://www.gao.gov/assets/820/813134.pdf.


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      B.     TSAR Has Not Shown That a Stay of EPA’s June 2022
             Denial Action Is Necessary to Avert Irreparable Harm.

      As discussed in Part I, supra, a stay of EPA’s June 2022 Denial Action will

not alleviate the harm TSAR alleges from its RFS compliance obligations for 2019

through 2021. Instead, such a stay would merely put TSAR back in the status quo

ante of its RFS compliance obligations coming due under EPA’s current schedule

without a decision—either way—on TSAR’s exemption petitions. TSAR has also

not sought or demonstrated entitlement to the extraordinary relief of a writ of

mandamus ordering EPA to refrain from enforcing the RFS against TSAR, nor

could it make such a showing for the reasons described in Part II.A, supra.

      Moreover, TSAR’s alleged harm lacks foundation.




       Bunker Decl. ¶¶ 42–48. And the increased revenue from the RFS for

compliance years 2019 through 2021




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      C.     The Requested Stay Is Not in the Public Interest.

      The stated goal of the RFS is to “increase the production of clean renewable

fuels.” 121 Stat. 1492. Exempting TSAR from its RFS compliance obligations

during the pendency of this petition for review would contravene this goal because

it would likely reduce demand for, and therefore production of, renewable fuels by

artificially increasing the supply of RINs. Bunker Decl. ¶¶ 58–62. While

Congress provided a safety valve for small refineries, it limited that exemption to

those that could establish disproportionate economic hardship from RFS

compliance, which TSAR has not done.

      A stay is also not in the public interest because



                  See Bunker Decl. ¶¶ 14–30.          TSAR,

                                                            See Mettetal Decl. ¶ 10




                                                 should not be rewarded with a stay

while other obligated parties comply.




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                              CONCLUSION

     The Court should deny TSAR’s Motion for Stay Pending Appeal.



                                       Respectfully submitted,

                                       TODD KIM
                                       Assistant Attorney General

                                       s/ Bryan J. Harrison
                                       BRYAN J. HARRISON
                                       U.S. Department of Justice
                                       Environment and Natural Resources Division
                                       Environmental Defense Section
                                       P.O. Box 7611
                                       Washington, DC 20044-7611
Of Counsel:                            Tel: (202) 307-0930
                                       bryan.harrison@usdoj.gov
SUSAN STAHLE
U.S. Environmental Protection Agency   PATRICK R. JACOBI
Office of General Counsel              U.S. Department of Justice
Washington, DC                         Environment and Natural Resources Division
                                       Environmental Defense Section
                                       Denver Place Building
                                       999 18th Street
                                       Suite 370 - South Terrace
                                       Denver, CO 80202
                                       Tel: (303) 844-1348
                                       patrick.r.jacobi@usdoj.gov

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                     CERTIFICATES OF COMPLIANCE

      I hereby certify that this response complies with the requirements of Fed. R.

App. P. 27(d)(2)(A) because it contains 5,195 words according to the count of

Microsoft Word, excluding the parts of the response exempted by Fed. R. App. P.

32(f), and therefore is within the word limit of 5,200 words.

      I further certify that this response complies with the requirements of Fed. R.

App. P. 32(a)(5) and (6) because it has been prepared in 14-point Times New

Roman, a proportionally-spaced font, and is double-spaced, except for headings,

block quotes, and footnotes.



Dated: January 11, 2023                         s/ Bryan J. Harrison
                                                BRYAN J. HARRISON




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                          CERTIFICATE OF SERVICE

      I hereby certify that pursuant to this Court’s December 30, 2022 Order, Doc.

00516593405, the foregoing EPA’s Redacted Response to The San Antonio

Refinery’s Motion for Stay Pending Appeal was filed with the Court in electronic

format via CM/ECF, which caused copies of the redacted filing to be served on all

counsel of record.



Dated: January 11, 2023                         s/ Bryan J. Harrison
                                                BRYAN J. HARRISON




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